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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

XFINITY MOBILE, a brand of COMCAST               §
OTR1, LLC and COMCAST CABLE                      §
COMMUNICATIONS, LLC, and COMCAST                 §
CORPORATION,                                     §
                                                 §     CIVIL ACTION
        Plaintiffs,                              §     FILE NO.________________
v.                                               §
                                                 §
ANTHONY THURMON, JESSE KLU,                      §     JURY TRIAL DEMANDED
TARESHA JAMES, DEUNDRE WALKER,                   §
HELEN WALKER, DIANTE PEACE, and                  §
LATANYA PEACE,                                   §
                                                 §
      Defendants.                                §
_____________________________________            §


                COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

        Plaintiffs Comcast OTR1, LLC and Comcast Cable Communications, LLC for

themselves and their Xfinity Mobile brand (“Xfinity Mobile”) and Comcast Corporation

(collectively, “Plaintiffs”), sue Defendants Anthony Thurmon, Jesse Klu, Taresha James,

Deundre Walker, Helen Walker, Diante Peace, and Latanya Peace (collectively, “Defendants”),

and state:

                                       BACKGROUND

        1.      Xfinity Mobile sells wireless communications handsets under the brand Xfinity

Mobile (“XM Phones” or “Phones”) to its residential service customers who also purchase high

speed internet service from it (“Xfinity Internet”). Xfinity Mobile offers financial incentives to

its customers, such as zero-interest installment payment plans for Phones and prepaid gift cards.

Xfinity Mobile recoups its investment in those financial incentives by, among other things, usage

and service charges that are paid by customers who use their Phones on the Xfinity Mobile



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wireless network.1 In an effort to protect Xfinity Mobile customers and to reduce fraud, the

Phones are only shipped to the residential address where the Xfinity Mobile customer receives

internet service.

        2.     Defendants and their co-conspirators are perpetrators of an unlawful scheme to enrich

themselves by stealing XM Phones and the financial incentives that are intended to benefit legitimate

consumers who use Xfinity Mobile’s network, thereby causing significant harm to Plaintiffs and

Xfinity Mobile’s customers (the “Scheme”).

        3.     Defendants and their co-conspirators are handset traffickers who exploit Xfinity

Mobile’s financial incentives to acquire Phones by using various unlawful methods to

circumvent the policies and procedures that are intended to protect Xfinity Mobile and its

legitimate customers, and then resell the unlawfully obtained Phones for a substantial profit.

        4.     Xfinity Mobile has identified various fraudulent methods used by Defendants and

their co-conspirators to unlawfully obtain new XM Phones, including, inter alia, using fake or

stolen identities to access customer accounts or to set up fraudulent accounts and opening

accounts for the sole purpose of obtaining as many phones as possible for resale and

misrepresenting their intentions to use the Phones with Xfinity Mobile service, as required. In

addition to adding Phones to legitimate customer accounts without authority, Defendants and

their co-conspirators sometimes use fraudulent identities and credit cards to pay for the Phones.

As Xfinity Mobile will only ship phones to a recognized customer account address, traffickers




1
  Xfinity Mobile operates on its own Wi-Fi network as well as being a mobile virtual network
operator (“MVNO”) on the Verizon network. Xfinity Mobile contracts with Verizon to purchase
service on its network for use by Xfinity Mobile’s customers when not on the Xfinity Wi-Fi
network, the latter of which is provided by Xfinity Mobile and its affiliates via more that 19
million hotspots nationwide.

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will intercept the fraudulent orders from the delivery company or before delivery to the

legitimate customer.

         5.    Plaintiffs and the entire Comcast family of companies hold their customers and

customer privacy in the highest regard. Filing this lawsuit and others like it is an important

aspect of Plaintiffs’ ongoing commitment to protect customers and their privacy from traffickers

and others who seek to profit by stealing the financial incentives offered by Xfinity Mobile to

legitimate consumers.

         6.    As part of the Defendants’ Scheme, XM Phones are resold multiple times, usually

in larger and larger consolidated lots by and among various other handset traffickers who know

or should have known the unlawful status of the Phones. With each new sale, the price of the

Phone goes up, and a new round of traffickers knowingly profit at the expense of Plaintiffs.

Ultimately, the Phones end up in a foreign country where they are more expensive and where

wireless service providers generally do not provide financial incentives to facilitate the

acquisition of wireless handsets. Along the way, the Phones must be “unlocked” so they will

operate on a wireless network other than Xfinity Mobile’s. Ultimately, the Phones are sold at or

above market value to an end user in a foreign country who believes they are purchasing a new

phone, not one that was manufactured and sold for use on Xfinity Mobile’s wireless network in

the United States, and that has been tampered with and altered from its original and intended

state.

         7.    The Scheme illicitly converts Xfinity Mobile’s substantial investment in its Phones

directly into profits for Defendants and their co-conspirators. Although each trafficker may

participate in less than all of the steps in the process of unlawfully diverting XM Phones, they are

necessarily reliant on their co-conspirators to obtain, purchase, sell, advertise, unlock, ship,



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repackage, and resell, to make money off of the Scheme. Therefore, every act by a trafficker in

furtherance of the conspiracy renders that trafficker liable to Plaintiffs for the harm caused by the

entire Scheme.

        8.       The Scheme causes harm to Plaintiffs and Xfinity Mobile’s customers. Plaintiffs

suffer pecuniary losses from the theft of the XM Phones and the loss of financial incentives

Xfinity Mobile provides to its legitimate customers, as well as its lost investment in sales,

marketing and related costs, and the loss of expected customer revenue from service allocated to

each Phone. Additionally, the misconduct by Defendants and their co-conspirators significantly

harms Xfinity Mobile’s relationships with its customers and others. For example, legitimate

customers whose accounts are targeted and attacked by Defendants and their co-conspirators are

distressed and may seek to blame Xfinity Mobile. Further, Defendants and their co-conspirators

often target a particular make and model of Phone and will attempt to collect as many of those

Phones as possible through fraud and theft, creating a shortage or delay for legitimate customers.

        9.       The Scheme also involves the willful infringement of the XFINITY and XFINITY

MOBILE trademarks, causing substantial damage to Plaintiffs’ goodwill, image, and reputation.

        10.      Plaintiffs seek to recover damages for the harm they have and continue to suffer

due to Defendants’ Scheme and to obtain an injunction prohibiting Defendants from continuing

to perpetrate the Scheme and harm Plaintiffs, and Xfinity Mobile’s legitimate customers.

        11.      All conditions precedent to filing this action have been performed, waived or

excused.

        12.      Plaintiffs have retained the undersigned attorneys to represent them in this action

and has agreed to pay their attorneys a reasonable fee for their services.




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                          PARTIES, JURISDICTION, AND VENUE

        13.    This is an action for damages in excess of $75,000.00, exclusive of interest, costs,

and attorneys’ fees.

        14.    Plaintiff Comcast OTR1, LLC (“Comcast OTR1”) is a Delaware limited liability

company, with its principal place of business in Philadelphia, Pennsylvania. The sole member of

Comcast OTR1 is Comcast Phone, LLC, a Delaware limited liability company that maintains its

principal place of business in Philadelphia, Pennsylvania. The sole member of Comcast Phone, LLC

is Comcast Cable Communications, LLC, a Delaware limited liability company that maintains its

principal place of business in Philadelphia, Pennsylvania. The sole member of Comcast Cable

Communications, LLC is Comcast Holdings Corporation, a Pennsylvania corporation with its

principal place of business in Philadelphia, Pennsylvania.

        15.    Plaintiff Comcast Corporation is a Pennsylvania corporation, with its principal

place of business in Philadelphia, Pennsylvania.

        16.    Defendant Anthony Thurmon is an individual residing in Dallas, Texas.

        17.    Defendant Jesse Klu is an individual residing in Arlington, Texas.

        18.    Defendant Taresha James is an individual residing in Mesquite, Texas.

        19.    Defendant Deundre Walker is an individual residing in Irving, Texas.

        20.    Defendant Helen Walker is an individual residing in Arlington, Texas.

        21.    Defendant Diante Peace is an individual residing in Dallas, Texas.

        22.    Defendant Latanya Peace is an individual residing in Dallas, Texas.

        23.    Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§1331, 1332, and 1338

because Plaintiffs’ claims for violation of the United States Trademark Act, Title 15 of the United

States Code and the Computer Fraud and Abuse Act, 18 U.S.C. §1030, et seq., arise under federal



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law, and because diversity exists between the parties and the amount in controversy exceeds

$75,000 exclusive of costs, fees, and interest. Pursuant to 28 U.S.C. §1367, this Court has

supplemental jurisdiction over Plaintiffs’ state law claims because those claims are so related to the

federal claims that they form part of the same case or controversy.

        24.         Defendants are subject to the personal jurisdiction of this Court because they

reside in Texas, regularly transact business in Texas, and committed tortious acts in Texas.

        25.         Venue is proper pursuant to 28 U.S.C. §1391(b) because the Defendants reside in

this District and/or a substantial part of the events or omissions giving rise to the claims occurred

in this District.

                              XFINITY MOBILE’S BUSINESS MODEL

        26.         Comcast Corporation is a global media and technology company with three

primary operating companies: Comcast Cable, NBCUniversal and Sky. Comcast Cable, among

other things, offers high-speed Internet, video, voice, and security and home automation services

in the United States individually and as bundled services at a discounted rate over its cable

distribution system to residential and business customers. Xfinity Mobile uses Comcast Cable’s

extensive Wi-Fi network of hotspots and Verizon’s wireless network to provide its customers

with a superior wireless experience, for less money, on the most popular high-end devices.

        27.         Xfinity Mobile currently serves approximately 1.2 million lines of wireless

service, and provides its customers with high quality, discounted services with innovative pricing

plans and self-service tools. Xfinity Mobile and its affiliates highly value the outstanding

business reputation they have worked hard to develop.

        28.         Xfinity Mobile provides unlimited nationwide talk and text and either unlimited

or by the Gig data plans for use on The most popular wireless devices on the Xfinity Mobile



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wireless network. In addition to being available online, through telesales, and in its stores, XM

Phones and wireless service are becoming available through authorized Xfinity Mobile dealers

around the country.

         29.     Xfinity Mobile’s business model is based upon the ability to deliver affordable

quality products and services to consumers.            Therefore, Xfinity Mobile provides discount

pricing, zero-interest installment payment plans, and/or other financial incentives.          Xfinity

Mobile recoups these financial incentives in part through profits earned on the sale of Xfinity

Mobile monthly service, which is required to make and receive calls and text messages on, and

transmit data through, the XM Phones. Xfinity Mobile is able to offer its Phones and wireless

service to customers with financial incentives only if the Phones are used as intended on the

Xfinity Mobile network.

         30.     Manufacturers that produce the XM Phones for Xfinity Mobile install proprietary

software, requested and paid for by Xfinity Mobile. Among other things, this software prevents

XM Phones from being used outside the Xfinity Mobile network without authorization.

                         XFINITY MOBILE’S TRADEMARK RIGHTS

         31.     Comcast Corporation owns the standard character and stylized XFINITY® and

XFINITY MOBILE marks and authorizes the right to use said marks to Comcast OTR1

(collectively, the “Xfinity Mobile Marks”).2 The stylized Xfinity and Xfinity Mobile marks are

depicted below:




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    True and correct copies of the certificates of registration issued by the United States Patent and
    Trademark Office for XFINITY® are attached hereto as Composite Exhibit A.

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        32.    Xfinity Mobile uses the Xfinity Mobile Marks on and in connection with its

communications products and services.

        33.    As a result of the high quality of Xfinity Mobile’s products, services, sales,

promotion and advertising thereof, the Xfinity Mobile Marks have become an intrinsic part of the

valuable goodwill and property of Comcast Corporation. The Xfinity Mobile Marks are well known

and established to customers and the trade as symbols identifying and distinguishing Xfinity

Mobile’s products and services, and signifying distinctive products and services of high quality.

Only Plaintiffs and their authorized, affiliated agents or partners are permitted to use the Xfinity

Mobile Marks. The Xfinity Mobile Marks are valid, distinctive, protectable, famous, have acquired

secondary meaning, and are associated exclusively with Comcast Corporation and Xfinity Mobile.

        34.    Defendants are not in any way or for any purpose affiliated with Plaintiffs and,

therefore, cannot lawfully use the Xfinity Mobile Marks.

        35.    Plaintiffs have never authorized Defendants to use the Xfinity Mobile Marks in

any way or for any purpose.

        36.    Defendants’ unlawful use of the Xfinity Mobile Marks began after the Marks

became famous and acquired distinctiveness.

                         TERMS AND CONDITIONS REGARDING
                         THE USE OF XFINITY MOBILE PHONES

        37.    XM Phones are sold subject to terms and conditions (“Terms and Conditions”)

that restrict and limit the sale and use of the Phones.         A copy of the current Terms and

Conditions is attached hereto as Exhibit B. These Terms and Conditions are included in XM

Phone     packaging   and     are   publicly   available   on    Xfinity   Mobile’s    website    at

https://www.xfinity.com/mobile/policies/customer-agreement                                       and

https://www.xfinity.com/mobile/policies/device-payment-plan-agreement. All purchasers must


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agree to the Terms and Conditions. Moreover, anyone who does not agree to the Terms and

Conditions has the option to return the Phone(s) to Xfinity Mobile in accordance with the posted

policies.

        38.    Limitations set out in the Terms and Conditions provide notice that XM Phones

are only to be used with Xfinity Mobile’s wireless services. The Terms and Conditions: (a)

require that the customer pay his/her monthly service charges and other related fees; (b) require

the customer to use the Phone with Xfinity Mobile’s wireless services; (c) prohibit modifying the

Phone from manufacturer’s specifications; (d) prohibit stealing from or making false statements

to Xfinity Mobile, such as to obtain new XM Phones for the purpose of resale and not for use

with XM service; (e) prohibit resale of XM Phones in violation of the terms and conditions; and

(f) prohibit acting in any manner that damages or is otherwise adverse to Xfinity Mobile or its

customers.

                              DEFENDANTS’ MISCONDUCT

        39.    Although large quantities of XM Phones are being acquired throughout the United

States, Xfinity Mobile has learned that a number of them are not being activated for use on the

Xfinity Mobile network. Instead, entities and individuals, such as Defendants and their co-

conspirators, with no intention of lawfully connecting to or using Xfinity Mobile’s wireless

services, are fraudulently acquiring and reselling XM Phones in bulk. The Phones are acquired,

either directly by Defendants or through their co-conspirators, and then sold for a substantial

profit and shipped directly overseas to be used on foreign carriers’ networks. At some point

before being shipped overseas, the Phones are usually taken out of their original packaging, and

all accessories, warranties, and manuals are removed. The Phones are unlocked either by

Defendants or their co-conspirators, to increase their value and enable their use on foreign



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wireless networks.

        40.    Those new Phones acquired through theft or fraud that are not shipped overseas

are often sold in bulk domestically for inclusion in larger overseas shipments or for the warranty

market. Defendants and their co-conspirators undertake these actions for their own profit.

        41.    When an XM Phone is unlocked and shipped overseas or resold domestically to

be used on other wireless networks, Xfinity Mobile has no revenue source to recoup its financial

investment in that Phone.

        42.     If Xfinity Mobile identifies a Phone as connected with theft, fraud, or other loss,

the International Mobile Station Equipment Identity (“IMEI”) is logged into Xfinity Mobile’s

system and the Phone can no longer be activated or used on the Xfinity Mobile network unless or

until that designation is changed by Xfinity Mobile. This is done in an attempt to deter criminal

activity. The Phone is thereafter referred to in the handset trafficking community as having a “Bad

IMEI.” As it is no longer a functioning XM Phone, the only value of a Bad IMEI Phone is in

unlocking the phone for use on other domestic wireless networks and for overseas resale.

        43.    Defendants are not and have never been authorized Xfinity Mobile distributors or

retailers.

        44.    Defendants have no legitimate connection to Xfinity Mobile.

        45.    Defendants are knowingly and willfully engaged in an illegal enterprise that

unlawfully traffics in and resells XM Phones.        Defendants have purchased and sold large

quantities of XM Phones through or with various co-conspirators. While the complete extent of

Defendants’ activities in the Scheme is not yet known, Defendants are actively involved in

several integral components of the conspiracy. Some of those components are discussed below.




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        46.    In an effort to prevent unlawful business practices, such as those perpetrated by

Defendants and their co-conspirators, Xfinity Mobile has, among other things, implemented

policies limiting the number of XM Phones an individual may purchase and instituted extensive

fraud detection and prevention protocols and procedures.           Defendants and/or their co-

conspirators intentionally work to circumvent these preventative measures in perpetrating their

Scheme.

        47.    Xfinity Mobile first identified Defendants in January 2019 after one of their

orders for multiple XM phones was flagged for fraud. The delivery name on the order did not

match the customer name on the account on which the order was made. It was discovered during

the investigation that variations of the same name on the flagged order and the same credit cards

and/or contact phone numbers had been used for multiple new orders across different addresses

in different states. The flagged order, which was to be delivered to an address in Katy, Texas,

included five new XM iPhones—four XS Max 512 gigabyte phones and one XS Max 64

gigabyte phone. On January 18, 2019, Defendants placed two more unauthorized orders to two

addresses on a street in Sugarland, Texas—one order for five iPhone XS Max 512 gb phones and

a second order for four XS Max 512 gigabyte phones and one XS Max 64 gigabyte phone. A

subsequent order by Defendants on January 23, 2019 was also flagged for fraud and included

four brand new XM iPhone XS Max 512 gigabyte phones—this time for delivery to Defendant

Thurmon in Keithville, Louisiana, even though he is a lifetime resident of Dallas, Texas.

Finally, a third fraudulent order was placed for delivery on January 30, 2019 to Defendants and

Dallas residents Diante and Latanya Peace to an address in Shreveport, Louisiana, that included

five new XM iPhones—four XS Max 512 gigabyte phones and one XS Max 64 gigabyte phone.

Investigators for Xfinity Mobile monitored the deliveries to identify Defendants.



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        48.    During the course of the investigation, Defendants’ Scheme became clear.

Defendants obtain confidential information about targeted Xfinity customers from sources other

than Xfinity Mobile and then contact Xfinity Mobile to place orders for brand new XM Phones

using those customers’ purloined information.       After placing fraudulent orders on existing

Xfinity Mobile customer accounts for delivery to the customer’s home, often using Defendants’

real names, Defendants intercept the FedEx packages containing the new, top of the line, XM

Phones. For example, Defendant Thurmon was observed removing a FedEx door tag, meant to

alert the resident that FedEx had attempted to deliver a package, from a house in Katy, Texas for

which a fraudulent order had been placed. Upon information and believe, the package was later

picked up from a FedEx location using the stolen door tag. The Phones were never activated for

use on the Xfinity Mobile network. On January 23, 2019, investigators observed Defendant

Thurmon doing the same thing with a package sent to an address in Keithville, Louisiana—he

took the FedEx tag off the door, went to the FedEx Ship Center, signed as “A. Bernard,” and left

with the new XM Phones. Investigators observed Thurmon doing the same thing in Shreveport,

Louisiana on January 30th.

        49.    Additional fraudulent orders for XM Phones were placed by Defendants on or

around April 8, 2019 to be delivered to a residential address in Katy, Texas. On April 11, 2019,

FedEx attempted to deliver the package, but the resident refused the package. Later that day,

Defendant Deundre Walker went to the FedEx Ground facility to retrieve the package and was

observed by Xfinity Mobile investigators carrying the package out of the FedEx Ground facility.

        50.    Defendant Klu provides the transportation for the other Defendants by using his

own car and rental vehicles for his co-conspirators to gather up the FedEx packages of new XM

Phones for resale.



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          51.   Defendants Taresha James, Deundre and Helen Walker, Diante and Latanya

Peace, and Defendant Thurmon were each identified recipients of multiple fraudulent XM Phone

orders.

          52.   In addition to Defendant Thurmon, Defendants Helen Walker and Latanya Peace

were observed driving cars provided by Defendant Klu to various locations where they would

take FedEx tags off of doors, and thereafter retrieve packages containing XM Phones from the

FedEx Ship Office or directly from the FedEx driver. None of the stolen Phones were ever

activated for use on the Xfinity Mobile network.

          53.   Because Defendants and their co-conspirators deal with traffickers located

throughout the United States and around the world and their unlawful transactions are often

concealed, discovery, including third party depositions and other discovery, will be necessary to

identify all of Defendants’ co-conspirators and determine the extent of their activity, and to

quantify the totality of the harm they caused to Xfinity Mobile, its customers, and United States

consumers.

            SUBSTANTIAL HARM CAUSED BY DEFENDANTS’ MISCONDUCT

          54.   Defendants’ actions substantially harm Plaintiffs in several ways, including inter

alia: (1) Xfinity Mobile is deprived of the opportunity to recoup its substantial investment in new

Xfinity Mobile Phones; (2) Xfinity Mobile is deprived of the opportunity to earn profits by

providing wireless service to legitimate Xfinity Mobile consumers; (3) Defendants’ actions

seriously and irreparably interfere with Xfinity Mobile’s relationships with its customers and

others; (4) Defendants’ infringement of the Xfinity Mobile name and Xfinity Mobile Marks causes

significant ongoing and irreparable losses and harm to Plaintiffs’ goodwill, image, and reputation;




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and (5) Defendants’ misconduct and the harm it causes undermines Xfinity Mobile’s competitive

position in the wireless industry.

        55.      The conduct of Defendants, their known and unknown co-conspirators, and

others who engage in the unlawful acquisition and resale of new XM Phones impacts the number

of available XM Phones for customers, particularly the most in-demand models such as the XM

iPhone XS 512gb trafficked by Defendants. This misconduct substantially harms Xfinity Mobile

and its relationship with consumers when Xfinity Mobile is not able to meet the demand from

legitimate consumers who, as a result, go elsewhere for their communications services.

        56.      Xfinity Mobile suffers additional, irreparable harm when the XM Phones are

removed from the original packaging and altered, because Xfinity Mobile is deprived of the

means to control the quality of its product. This becomes especially damaging when a potential

legitimate Xfinity Mobile customer within the United States acquires a Phone from Defendants

that the customer believes is a genuine XM Phone that is usable for Xfinity Mobile services, and

is later disappointed in Xfinity Mobile when the Phone does not work as intended with Xfinity

Mobile because it has been denominated a Bad IMEI Phone or otherwise altered by Defendants

or their co-conspirators.

        57.      Furthermore, the process of unlocking and reselling an XM Phone voids the

manufacturer’s warranty on the device.     The unlocked, repackaged XM Phones are resold

without the original manufacturer’s warranty documentation.       Both consumers and Xfinity

Mobile are harmed when an XM Phone that has been altered or sold by Defendants or their co-

conspirators is submitted for warranty repair. Unsuspecting consumers who purchase unlocked

and/or flagged XM Phones from Defendants or their co-conspirators are unable to obtain

warranty service in the event they experience problems with their Phones and cannot activate



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banned Phones with Bad IMEIs because they were obtained by theft or fraud, which diminishes

Xfinity Mobile’s reputation.

        58.       Defendants’ continuing conduct results in substantial harm to Plaintiffs’ business

reputation and goodwill; a greater likelihood of confusion, mistake, and deception as to the

source of origin of Xfinity Mobile products unlawfully sold by the Defendants; and confusion as

to what, if any, relationship exists between Plaintiffs and Defendants.

          59.      In addition, Defendants’ and their co-conspirators’ improper and unauthorized

  fraudulent purchases of XM Phones on the accounts of legitimate customers results in calls by

  confused and angry consumers to Xfinity Mobile’s customer relations department. Xfinity Mobile

  incurs significant costs associated with resolving such situations, and investigating such fraud, and

  its reputation suffers further as a result of the unlawful conduct.

                   CIVIL PROCEEDINGS IN OTHER FEDERAL COURTS

        60.      Federal courts have recognized that conduct similar to Defendants’ Scheme is

unlawful.

        61.      In addition to Xfinity Mobile, AT&T, T-Mobile, Sprint, TracFone Wireless, and

Nokia have all filed lawsuits in numerous federal courts across the country against handset

traffickers     engaged   in   the   practice   of    defrauding    legitimate   consumers   and   the

telecommunications companies by acquiring large quantities of wireless telephones and reselling

them for profit. Each of those companies has succeeded in obtaining Final Judgments and

Permanent Injunctions.         Copies of several examples of Final Judgments and Permanent

Injunctions are attached hereto as Composite Exhibit C.                 A defendant in one case, who

continued trafficking phones in violation of an injunction issued by the U.S. District Court for

the Southern District of Texas, was charged with criminal contempt of court and sentenced to



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serve 57 months in prison. Copies of the Memorandum Opinion and Order of Contempt,

Application for Criminal Contempt, the Order finding cause to believe the defendant is guilty of

criminal contempt, and Judgment of Criminal Contempt are attached hereto as Composite

Exhibit D.

                           CRIMINAL INVESTIGATION AND
                        PROSECUTION OF PHONE TRAFFICKING

        62.    Phone traffickers like Defendants have been the subject of numerous criminal

investigations and prosecutions across the country. Some examples are:

               a.      On May 15, 2019, the United States Attorney for the District of Idaho filed

a 45 count superseding indictment against 10 members of the Babichenko cell phone trafficking

organization asserting charges of wire fraud, money laundering, trademark infringement, and

trafficking in counterfeit goods. The original indictment was unsealed in August 2018, following

an investigation into the Babichenkos’ extensive handset trafficking for more than a decade, which

the FBI called a “complex scheme to defraud the American people.” In conjunction with the filing

of the indictment, the FBI raided warehouses and homes owned by the Babichenkos, and seized

more than 36 bank accounts, 4 Amazon accounts, 7 residential and business properties in Idaho, 10

vehicles, 30 diamond rings, gold and silver coins and bars, and 60 pallets of cell phones. The

defendants in the criminal case are being detained pending trial. Previously, TracFone Wireless,

Inc. filed several civil lawsuits against the Babichenkos in federal courts in Florida alleging phone

trafficking, and obtained permanent injunctions and awards of millions of dollars in damages.

               b.      In February 2019, the U.S. Court of Appeals for the Seventh Circuit

affirmed the criminal conviction of Lawrence Adkinson, who was charged and convicted along

with 9 other defendants of a string of 11 armed robberies of cell phone stores in Indiana, Illinois,

Kentucky and Missouri. United States v. Adkinson, 916 F.3d 605 (7th Cir. 2019). The robberies


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were for the purpose of obtaining hundreds of cell phones to be trafficked. Adkinson was

sentenced to 346 months in prison. His co-defendants received sentences ranging from 72 to 384

months.

               c.      In August 2014, the United States Attorney for the District of Minnesota

announced the indictment of 20 individuals engaged in the illegal acquisition and resale of tens

of thousands of smartphones to the black markets of the Middle East and China. A joint task

force comprised of the U.S. Secret Service, the Minnesota Financial Crimes Task Force, and the

St. Paul Police Department investigated and then apprehended members of the “Mustafa

Organization,” who had been engaged in contract fraud and robbery to acquire large quantities of

subsidized phones for overseas resale. All of the people indicted eventually pleaded guilty, with

the three “ring leaders” receiving sentences of 87 to 130 months in federal prison and ordered to

pay more than $1 million in restitution.

               d.      In March 2013, the California Attorney General charged two individuals

with trafficking wireless phones to Hong Kong and receiving more than $4 million over an 8

month period. Both defendants pled guilty, and received prison sentences of two years eight

months and one year, respectively.

               e.      In February 2013, federal law enforcement authorities, including agents

from the Federal Bureau of Investigation, the United States Secret Service, and the Bureau of

Alcohol, Tobacco, Firearms and Explosives, raided a warehouse belonging to a phone trafficking

company called Wireless Buybacks in Elkridge, Maryland, pursuant to a search warrant and found

the facilities were being used to harbor stolen Sprint Phones.

               f.      On August 21, 2012, federal Homeland Security agents and SWAT teams

conducted a raid on facilities operated by handset trafficker Ace Wholesale and on the home of



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the company’s CEO, Jason Floarea. That same day, Sprint filed a civil lawsuit against Ace

Wholesale and its principals in federal court in Georgia. On October 16, 2014, Mr. Floarea pled

guilty to Interstate Transportation of Stolen Property and on April 16, 2015, Floarea was

sentenced to twelve (12) months and one day in federal prison. Sprint’s civil lawsuit was

resolved by the entry of permanent injunctions against all of the defendants and judgments

totaling more than $20 million in favor of Sprint.

        Copies of court documents, press releases, and news reports regarding these incidents are

attached hereto as Composite Exhibit E.

                                          COUNT ONE

                                   UNFAIR COMPETITION


        63.     Plaintiffs reassert the allegations set forth in Paragraphs 1-59 as though fully set

forth herein.

        64.     Defendants’ conduct in acquiring and/or inducing others to acquire XM Phones,

disabling or unlocking, inducing others to disable or unlock, and/or assisting others to disable or

unlock the Phones, and reselling and/or assisting others to resell the Phones as new for activation

on other wireless networks or for use as warranty replacement Phones constitutes unfair

competition under the common law of the State of Texas.

        65.     Defendants’ conduct in acquiring, selling, inducing others to sell, and/or

conspiring with others to sell new XM Phones undermines Xfinity Mobile’s incentive programs,

illegally appropriates Xfinity Mobile’s investment in the Phones, and constitutes unfair methods

of competition, unconscionable acts or practices, and/or unfair or deceptive acts or practices in

violation of State law.




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        66.     Defendants’ use of at least one of the Xfinity Mobile Marks in connection with the

sale of unlocked, materially-different XM Phones has caused, and will further cause, a likelihood

of confusion, mistake and deception as to the source of origin of Defendants’ materially-different

products and services, and the relationship between Plaintiffs and Defendants. Thus, Defendants

have also engaged in unfair competition with Plaintiffs by selling and/or offering, and promoting

their products with the intention of trading upon the goodwill established by Plaintiffs and are

thereby misappropriating the benefits of substantial effort and money expended by Plaintiffs in

establishing Plaintiffs’ rights in and to the Xfinity Mobile Marks.

        67.     Defendants’ conduct complained of herein was and continues to be intentional,

malicious, and willful, and has caused substantial harm to Plaintiffs.

        68.     There is no adequate remedy at law to fully compensate Plaintiffs for the harm

caused by Defendants’ unfair competition.

                                           COUNT TWO

                      TORTIOUS INTERFERENCE WITH BUSINESS
                    RELATIONSHIPS AND PROSPECTIVE ADVANTAGE

        69.     Plaintiffs reassert the allegations set forth in Paragraphs 1-59 as though fully set

forth herein.

        70.     A business relationship, and an expectancy of business relationships, exists

between Xfinity Mobile and the purchasers and prospective purchasers of its XM Phones and

wireless service.

        71.     There is a high probability of future economic benefit to Xfinity Mobile as a

result of these current and prospective business relationships.

        72.     Defendants have knowledge of and have intentionally and unjustifiably interfered

with, and/or have knowingly facilitated a conspiracy to interfere with, these current and


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prospective business relationships between Xfinity Mobile and legitimate Xfinity Mobile

customers or prospective customers.

        73.    Specifically, but without limitation, Defendants knew that Xfinity Mobile has

business relationships, and an expectancy of business relationships, with legitimate consumers of

XM Phones, internet, and wireless service. Defendants interfered with these relationships by

engaging in their Scheme, which includes affecting the supply of XM Phones and sowing

discontent in Xfinity Mobile customers whose accounts were subjected to fraudulent activations

and unauthorized Phone orders by Defendants and/or their co-conspirators.

        74.    Defendants are intentionally interfering with Xfinity Mobile’s business

relationships and prospective advantages through improper means and in violation of the law.

        75.    Defendants engaged in the acts of interference set forth herein with a conscious

desire to prevent the relationships from occurring or continuing or Defendants knew that the

interference was certain or substantially certain to occur as a result of their conduct.

        76.    Defendants have knowledge of and have intentionally and unjustifiably interfered

with, and/or have knowingly facilitated a conspiracy to interfere with, these business

relationships between Xfinity Mobile and its legitimate Xfinity Mobile customers.

        77.    Defendants’ acts injured and continue to injure Xfinity Mobile’s business

relationships and contractual relationships.

        78.    Xfinity Mobile has been proximately damaged and continues to be damaged as a

result of Defendants’ interference.

        79.    There is no adequate remedy at law to fully compensate Xfinity Mobile for the

harm caused by Defendants’ tortious interference.




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                                         COUNT THREE

           TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONS

        80.     Plaintiffs reassert the allegations set forth in Paragraphs 1-59 as though fully set

forth herein.

        81.     A contractual relationship and an expectancy of a contractual relationship exists

between Xfinity Mobile and its customers and prospective customers, the purchasers of its XM

Phones and wireless service.

        82.     There is a reasonable likelihood that these prospective business relationships and

contracts would occur but for the unjustified interference of Defendants and/or their co-

conspirators.

        83.     Defendants have knowledge of and have intentionally and unjustifiably interfered

with, and/or have knowingly facilitated a conspiracy to interfere with, these contracts between

Xfinity Mobile and legitimate Xfinity Mobile customers or prospective customers.

        84.     Specifically, but without limitation, Defendants knew that Xfinity Mobile has

contractual relationships with legitimate consumers of XM Phones and wireless service. In fact,

Defendants and their co-conspirators rely on and exploit the contractual relationship between

Xfinity Mobile and its customers to unlawfully obtain and resell XM Phones.              Defendants

interfered with these relationships by engaging in the Scheme and causing Xfinity Mobile

customers to doubt or resent their relationship with Xfinity Mobile, encouraged or caused

customers to breach their contracts with Xfinity Mobile, and caused, at least in part, Xfinity Mobile

to have an insufficient supply of XM Phones available to meet legitimate consumer demand.




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        85.     Defendants engaged in the acts of unjustifiable interference set forth herein with a

conscious desire to induce breach of contract, or Defendants knew that breach of contract was

certain or substantially certain to occur as a result of their conduct.

        86.     Defendants’ acts are not motivated by legitimate business reasons.

        87.     Xfinity Mobile has been proximately damaged and continues to be damaged as a

result of Defendants’ interference.

        88.     There is no adequate remedy at law to fully compensate Xfinity Mobile for the

harm caused by Defendants’ tortious interference.

                                           COUNT FOUR

                                      CIVIL CONSPIRACY

        89.     Plaintiffs reassert the allegations set forth in Paragraphs 1-59 as though fully set

forth herein.

        90.     An agreement and conspiracy existed and continues to exist between and among

the Defendants and other co-conspirators to unlawfully acquire in bulk, traffic, and resell

unlawfully acquired unlocked XM Phones, which are oftentimes unlocked and materially-

altered, resulting in unfair competition, tortious interference with business relationships and

prospective advantage, tortious interference with contract, unjust enrichment, trademark

infringement, and violation of the federal Computer Fraud and Abuse Act, among other things.

        91.     Each Defendant knowingly agreed to engage, and did engage, in one or more

overt acts in pursuit of the conspiracy as set forth with more particularity in this Complaint.

        92.     Plaintiffs have been proximately damaged by the conspiracy and Defendants’

actions in furtherance thereof.




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        93.     There is no adequate remedy at law to fully compensate Plaintiffs for the harm

caused by Defendants’ conspiracy.

                                          COUNT FIVE

                                    UNJUST ENRICHMENT

        94.     Plaintiffs reassert the allegations set forth in Paragraphs 1-59 as though fully set

forth herein.

        95.     By unlawfully acquiring XM Phones for use with wireless services other than

Xfinity Mobile’s services and reselling the XM Phones for profit through various means,

namely, theft and fraud, all in direct violation of the express provisions of the Terms and

Conditions, Defendants have obtained benefits from Xfinity Mobile that have caused significant

harm to Xfinity Mobile and resulted in significant financial gain to Defendants through their

resale of the illicitly-acquired XM Phones.

        96.     Defendants have acquired the benefits voluntarily and with full knowledge of the

benefits.

        97.     Defendants have retained the benefits under such circumstances that make it

unjust and inequitable for Defendants to retain the benefits without paying Xfinity Mobile the

value of the benefits Defendants acquired.

        98.     There is no adequate remedy at law to fully compensate Xfinity Mobile for the

harm caused by Defendants’ unjust enrichment.

                                           COUNT SIX

         COMMON LAW FRAUD AND FRAUDULENT MISREPRESENTATION

        99.     Plaintiffs reassert the allegations set forth in Paragraphs 1-59 as though fully set

forth herein.



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        100.   As part of their Scheme, each Defendant, directly or indirectly through co-

conspirators, regularly and systematically misrepresent to Xfinity Mobile that the XM Phone

orders are authorized, that the identifying information being provided is legitimate and

authorized, and/or that the Phones are being purchased by a legitimate customer for use in

accordance with the governing Terms and Conditions.

        101.   On information and belief, each Defendant defrauded Xfinity Mobile to acquire

XM Phones to be unlocked, resold and in many cases ultimately shipped overseas for activation

on foreign carrier networks.

        102.   When Defendants, directly or through their co-conspirators, acquire XM Phones

as part of their Scheme, they do not intend to use the Phones for a legitimate purpose or to

activate them or maintain them as active with respect to Xfinity Mobile’s wireless services, or

otherwise perform in accordance with the Terms and Conditions.

        103.   Defendants and their co-conspirators know, when they affirmatively act to

circumvent Xfinity Mobile’s fraud prevention tools to place new Phone orders, that they are not

authorized to access and place orders on Xfinity Mobile customer accounts, or to open new

Xfinity Mobile accounts using fraud and forged or stolen identity information, and that they are

required to activate the XM Phones for use with Xfinity Mobile’s wireless services, pay the

monthly service charges, and otherwise comply with the Terms and Conditions.

        104.   Defendants intend for Xfinity Mobile to rely on their misrepresentations, and/or

misrepresentations of their co-conspirators, to allow Defendants to acquire and unlock the XM

Phones for improper purposes.

        105.   Xfinity   Mobile’s   reliance   on   Defendants’    and   their   co-conspirators’

misrepresentations is reasonable under the circumstances.



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        106.    Xfinity Mobile has been damaged and continues to suffer damages as a result of

Defendants’ actions.

        107.    There is no adequate remedy at law to fully compensate Xfinity Mobile for the

harm caused by Defendants’ fraud.

                                         COUNT SEVEN

                                         CONVERSION

        108.    Plaintiffs reassert the allegations set forth in Paragraphs 1-59 as though fully set

forth herein.

        109.    Defendants have and are engaged in acts of conversion in violation of the law of

this State.

        110.    Plaintiffs have the right to provide XM Phones and wireless service to the public

and to promote said products and services using the Marks. Defendants have no such privilege

or right.

        111.    Defendants knew or should have known that they obtained the Phones through

illegitimate means and had no legal right to advertise, acquire, use or resell them.

        112.    Defendants are wrongfully interfering with Plaintiffs’ rights by engaging in the

Scheme.

        113.    Defendants intentionally and willfully exerted dominion and ownership over the

XM Phones and Marks.

        114.    Defendants’ conversion of Plaintiffs’ property has caused and continues to cause

Plaintiff to suffer irreparable injury, loss of reputation, and exemplary damages to be proved at

trial. Unless enjoined by this Court, Defendants will continue these acts, thereby causing Plaintiff

further immediate and irreparable damage.



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                                          COUNT EIGHT

                                          ACCOUNTING

        115.    Plaintiffs reassert the allegations set forth in Paragraphs 1-59 as though fully set

forth herein.

        116.    This Court has the general equitable powers to compel Defendants to render an

accounting to Plaintiffs for transactions in XM Phones or services and all profits unlawfully gained

by Defendants’ infringement of Plaintiffs’ rights.

        117.    Without an accounting, Plaintiffs cannot accurately determine the extent of their

damages, the amount of profits gained by Defendants through the unlawful acquisition and resale

of XM Phones and services, how their revenue was spent or used, and how damages may best be

recovered.

                                           COUNT NINE

                       TRAFFICKING IN COMPUTER PASSWORDS
                                18 U.S.C. § 1030(a)(6)

        118.    Plaintiffs reassert the allegations set forth in Paragraphs 1-59 as though fully set

forth herein.

        119.    Xfinity Mobile has the following computers: (1) Xfinity Mobile password

protected ordering system; (2) Xfinity Mobile national communications and WiFi computer

networks; (3) Xfinity Mobile electronic customer account and billing portal; and (4) XM Phones

(collectively, “Protected Computers”). The Protected Computers are “computers” as that term is

defined in Section 1030(e)(1) of the Computer Fraud and Abuse Act because they are electronic

and/or high speed data processing devices performing logical, arithmetic, or storage functions,

and include data storage facilities and/or communications facilities directly related to or

operating in conjunction with such devices.


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        120.   Xfinity Mobile prevents unauthorized access to its Protected Computers through,

among other things, the confidential codes/passwords needed to access the Protected Computers

(“Security Codes”).

        121.   Defendants and/or their co-conspirators obtain these Security Codes through

various unlawful means, including the Dark Web and identity theft.

        122.   Through their Scheme, Defendants are knowingly trafficking in the Security Codes

with the intent to defraud and harm Xfinity Mobile.

        123.    Defendants and their co-conspirators use the fraudulently-obtained Security

Codes to gain unauthorized access to at least one of Xfinity Mobile’s Protected Computers (i.e.,

using Security Codes fraudulently obtained from third party sources like the Dark Web and

identity theft to log into Xfinity Mobile password protected ordering systems, use XM Phones on

Xfinity Mobile national communications and WiFi computer networks, log into the Xfinity

Mobile electronic customer account and billing portal and/or access XM Phones). This access

into at least one of Xfinity Mobile’s Protected Computers is not authorized in any way.

Defendants or their co-conspirators share these Security Codes among themselves and with their

co-conspirators.

        124.    Defendants or their co-conspirators unlawfully access at least one of Xfinity

Mobile’s Protected Computers using the fraudulently-obtained Security Codes to: (1) acquire

XM Phones; (2) perform various tests to confirm that the XM Phones they are purchasing are, in

fact, active XM Phones; and/or (3) unlock the XM Phones, which requires the manipulation and

oftentimes permanent deletion of the proprietary software that is installed in the XM Phone and

make unauthorized changes in Xfinity Mobile’s Protected Computers so the XM Phone will

operate on other networks.



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        125.   Defendants’ transfer of the XM Phones and Security Codes to others constitutes

“trafficking” of the codes as defined in 18 U.S.C. § 1029 in that the Security Codes were

transferred, or otherwise disposed of, to others, or Defendants obtained control of the codes with

intent to transfer or dispose of them.

        126.   Defendants’ trafficking of the Security Codes substantially affects interstate

commerce and communication in that the Security Codes are trafficked over the Internet,

throughout the United States, and around the world, and Xfinity Mobile’s Protected Computers

are used in and affect interstate commerce and communication.

        127.   Defendants’ unlawful trafficking of Xfinity Mobile’s Security Codes has caused and

will continue to cause Xfinity Mobile to suffer injury, with “damages” and “losses” – as those terms

are defined in Sections 1030(e)(8) and 1030(e)(11), respectively -- substantially in excess of $5,000

over a one-year period.

        128.    With respect to loss, Xfinity Mobile has spent well in excess of $5,000 over a

one-year period assessing its Protected Computers for damage and taking steps to prevent future

unauthorized access by Defendants and/or their co-conspirators.

        129.    Also with respect to loss, Xfinity Mobile has spent well in excess of $5,000 over

a one-year period, investigating Defendants’ intrusions into Xfinity Mobile’s Protected

Computers, assessing the possible impairment to the integrity of its Protected Computers and

conducting damage assessments regarding Defendants’ collection and dissemination of XM

Phones and Security Codes, as well as tracking down fraudulently sold XM Phones.

        130.    Moreover, with respect to loss, Xfinity Mobile has spent well in excess of $5,000

over a one-year period in costs to discover Defendants’ identities and/or the method by which

Defendants access Xfinity Mobile’s Protected Computers without authorization.



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        131.    With respect to damage, by unlawfully accessing Xfinity Mobile’s Protected

Computers and collecting and disseminating the illegally activated Phones and Security Codes,

Defendants and their co-conspirators have substantially impaired the integrity of Xfinity Mobile’s

Protected Computers in an amount in excess of $5,000. Moreover, Defendants’ actions have

impaired Xfinity Mobile’s means of controlling the quality of its products and services.

        132.    Defendants’ activities constitute trafficking in computer passwords in violation

of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030(a)(6).

        133.    Defendants’ conduct is intentional, malicious, fraudulent, and willful.

        134.   Pursuant to 18 U.S.C. § 1030(g), Xfinity Mobile is entitled to maintain this civil

action against Defendants to obtain compensatory damages and injunctive and other equitable

relief for the reasons identified above, and because Defendants’ conduct involves at least one of

the factors identified in 18 U.S.C. § 1030(c)(4)(A)(i), including the factor set forth in subclause

(I): the loss to Xfinity Mobile and Xfinity Mobile customers as a result of Defendants’ conduct

during any one year period aggregated at least $5,000 in value.

                                          COUNT TEN

                                  UNAUTHORIZED ACCESS
                                   18 U.S.C. § 1030(a)(5)(C)

        135.   Plaintiffs reassert the allegations set forth in Paragraphs 1-59 and 119-134 as

though fully set forth herein.

        136.    Xfinity Mobile’s Protected Computers are “protected computers” as that term is

defined in Section 1030(e)(2)(B) of the Computer Fraud and Abuse Act because they are used in

interstate commerce and communications.

        137.    Xfinity Mobile’s Protected Computers hold confidential information, are

connected to the Internet, and assist in providing federally-regulated communications services.


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        138.    Typically, XM Phones are connected to and activated on at least one of Xfinity

Mobile’s Protected Computers when purchased from Xfinity Mobile.

        139.    In furtherance of their Scheme, Defendants and/or their co-conspirators use fraud

and misrepresentation to acquire XM Phones, including the most in-demand smartphones, and,

in so doing, void any purchase agreement and any legitimate, authorized access to Xfinity

Mobile’s Protected Computers. As such, Defendants’ access to Xfinity Mobile’s Protected

Computers using fraudulently obtained credentials or identities is not authorized in any way.

Further, in using fraud or deception to create Xfinity Mobile accounts or to access customer

accounts to place orders for XM Phones, Defendants’ and/or their co-conspirators’ access into at

least one of Xfinity Mobile’s Protected Computers is unauthorized.

        140.   Defendants and/or their co-conspirators knowingly and with the intent to defraud

access at least one of Xfinity Mobile’s Protected Computers using, for example, fraudulently

obtained credentials or identities. Defendants are not authorized to do so.

        141.    Further, by unlawfully acquiring and unlocking the XM Phones, Defendants

necessarily access at least one of Xfinity Mobile’s Protected Computers because the XM Phones

are programmed to connect to several of Xfinity Mobile’s Protected Computers when

Defendants unlawfully acquired them from Xfinity Mobile.

        142.    Defendants’ illegal and unauthorized access into at least one of Xfinity Mobile’s

Protected Computers allows them to improperly steal Xfinity Mobile’s substantial financial

investment in XM Phones.

        143.    Defendants’    activities   substantially   affect     interstate   commerce   and

communication in that the Phones are acquired and trafficked throughout the United States and

around the world.



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        144.    Defendants’ unauthorized access of Xfinity Mobile’s Protected Computers has

caused and will continue to cause Xfinity Mobile to suffer injury, with “damages” and “losses” – as

those terms are defined in Sections 1030(e)(8) and 1030(e)(11), respectively – substantially in excess

of $5,000 over a one-year period.

        145.    With respect to loss, Xfinity Mobile has lost its investments in the illegally-

acquired XM Phones.

        146.    Defendants’ activities constitute unauthorized access in violation of the

Computer Fraud and Abuse Act, 18 U.S.C. § 1030(a)(5)(C).


                                        COUNT ELEVEN

                UNAUTHORIZED ACCESS WITH INTENT TO DEFRAUD
                             18 U.S.C. § 1030(a)(4)

        147.   Plaintiffs reassert the allegations set forth in Paragraphs 1-59 and 119-146 as

though fully set forth herein.

        148.    Defendants are knowingly, intentionally, and with the intent to defraud,

facilitating the unauthorized access into at least one of Xfinity Mobile’s Protected Computers.

        149.   Defendants and their co-conspirators obtain monetary value, (i.e., brand new XM

Phones that are resold for a substantial profit) through their unlawful access into at least one of

Xfinity Mobile’s Protected Computers (e.g., using Security Codes fraudulently obtained from

third party sources like the Dark Web and identity theft to log into Xfinity Mobile password

protected ordering systems and the unauthorized use of XM Phones on Xfinity Mobile national

communications and WiFi computer networks).

        150.    Defendants’ activities constitute unauthorized access in violation of the

Computer Fraud and Abuse Act, 18 U.S.C. § 1030(a)(4).



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                                     COUNT TWELVE

                        FEDERAL TRADEMARK INFRINGEMENT
                         15 U.S.C. 1114 [§32(1) of the Lanham Act]

        151.   Comcast Corporation reasserts the allegations set forth in Paragraphs 1-59 as

though fully set forth herein.

        152.   Defendants’ and/or their co-conspirators’ aforementioned conduct constitutes use

of certain federally registered XFINITY® marks without authorization in connection with their

conspiracy to sell and offer for sale unlocked and/or materially-different XM Phones, which

downstream customers will discover have been altered from their original state and do not

include the warranties, accessories, manuals and related items that constitute part of the XM

Phone package.

        153.   Defendants’ and/or their co-conspirators’ use of certain federally-registered

XFINITY® marks in connection with the sale of XM Phones has caused, and will further cause,

a likelihood of confusion, mistake and deception as to the source of origin of Defendants’

infringing products, and the relationship between Comcast Corporation and Defendants.

        154.   Defendants’ and/or their co-conspirators’ unauthorized use of certain federally-

registered XFINITY® marks is likely to continue in the future, all to the great and irreparable

damage to the business, reputation and goodwill of Comcast Corporation.

        155.   Defendants’ and/or their co-conspirators’ use of certain federally registered

XFINITY® marks in connection with the sale of unlocked and/or materially-different XM

Phones, which do not include warranties, manuals, accessories and related items made part of the

XM Phone package, and may have been flagged as “Bad IMEI” Phones and not able to be

activated with Xfinity Mobile service, constitutes a misappropriation of Comcast Corporation’s




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distinguishing and identifying federally registered trademarks that were created as a result of

significant effort and expense by Comcast Corporation over a long period of time.

        156.    Defendants’ and/or their co-conspirators’ use of certain federally registered

XFINITY® marks evokes an immediate, favorable impression or association and constitutes a

false representation that the products and business of Defendants have some connection,

association or affiliation with Comcast Corporation, and is likely to mislead the trade and public

into believing that Defendants’ products and services originate from, are affiliated with, or are

sponsored, authorized, approved or sanctioned by Comcast Corporation.

        157.    Defendants, in committing the foregoing acts in commerce, have damaged, and

will continue to damage, Comcast Corporation and the reputation and goodwill of Comcast

Corporation, and have been unjustly enriched and will continue to unjustly enrich themselves at

the expense of Comcast Corporation.

        158.    Comcast Corporation is without an adequate remedy at law to redress such acts,

and will be irreparably damaged unless Defendants are enjoined from committing and continuing

to commit such acts.

        159.    Defendants’ aforesaid acts constitute willful infringement of Comcast

Corporation’s aforementioned federally registered trademarks in violation of 15 U.S.C. §1114.


                                      COUNT THIRTEEN

                FEDERAL COMMON LAW TRADEMARK INFRINGEMENT
                                AND FALSE ADVERTISING
                 15 U.S.C. § 1125 (a)(1)(A) and (B) [§43(a) of the Lanham Act]

        160.    Plaintiffs reassert the allegations set forth in Paragraphs 1-59 as though fully set

forth herein.




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        161.    Defendants’ and/or their co-conspirators’ aforementioned conduct constitutes use

of the Xfinity Mobile Marks without authorization in connection with their conspiracy to sell and

offer for sale unlocked and/or materially-different XM Phones, which downstream customers

will discover have been altered from their original state, are inoperable on Xfinity Mobile

service, and do not include the warranties, accessories, manuals and related items that constitute

part of the XM Phone package.

        162.    Defendants’ and/or their co-conspirators’ use of at least one of the Xfinity Mobile

Marks in connection with the sale of unlocked and/or materially-different XM Phones has

caused, and will further cause, a likelihood of confusion, mistake and deception as to the source

of origin of Defendants’ materially-different products, and the relationship between Plaintiffs

and Defendants.

        163.    Defendants’ and/or their co-conspirators’ unauthorized use of at least one of the

Xfinity Mobile Marks is likely to continue in the future, all to the great and irreparable damage to the

business, reputation, and goodwill of Plaintiffs.

        164.    Defendants’ and/or their co-conspirators’ use of at least one of the Xfinity Mobile

Marks in connection with the sale of unlocked and/or materially-different XM Phones, which do

not include warranties, manuals, accessories and related items made part of the XM Phone

package, and, in some cases, have been flagged as “Bad IMEI” Phones and are not able to be

activated on Xfinity Mobile service, constitutes a misappropriation of at least one of the

distinguishing and identifying Xfinity Mobile Marks that was created as a result of significant

effort and expense.

        165.    Defendants’ and/or their co-conspirators’ use of at least one of the Xfinity Mobile

Marks evokes an immediate, favorable impression or association and constitutes a false



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representation that the products and business of Defendants have some connection, association or

affiliation with Plaintiffs, and thus constitutes false designation of origin and is likely to mislead

the trade and public into believing that Defendants’ products and services originate from, are

affiliated with, or are sponsored, authorized, approved or sanctioned by Plaintiffs. Defendants

are not affiliated with Plaintiffs in any way.

        166.   Defendants, in committing the foregoing acts in commerce, have damaged, and

will continue to damage, Plaintiffs and the reputation and goodwill of Plaintiffs, and have been

unjustly enriched and will continue to unjustly enrich themselves at Plaintiffs’ expense.

        167.   Plaintiffs are without an adequate remedy at law to redress such acts, and will be

irreparably damaged unless Defendants are enjoined from committing and continuing to commit

such acts.

        168.   Defendants’ use of at least one of the Xfinity Mobile Marks in commercial

advertising and/or promotion misrepresents the nature, characteristics, and/or qualities of their

infringing products. Such advertising and/or promotion is false and/or misleading and deceives,

or has the capacity to deceive, consumers. The deception and misrepresentations have a material

effect on the purchasing decisions and affect interstate commerce.

        169.   Defendants’ activities constitute false designation of origin, false descriptions and

representations, and false advertising in commerce in violation of § 43(a) of the Lanham Act, 15

U.S.C. §1125(a)(1)(A) and (B).

        170.   Plaintiffs are entitled to appropriate relief as prayed for hereinafter, including

preliminary and permanent injunctive relief.




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        171.    Defendants knew or should have known that Plaintiffs have the right to use and

enforce the Xfinity Mobile Marks and that Defendants had no legal right to use the Xfinity

Mobile Marks on their infringing products.

        172.    Defendants are engaged in and continue to engage in the alleged activities

knowingly, willfully and deliberately, so as to justify the assessment of exemplary damages and

an award of, inter alia, Plaintiffs’ lost profits, Defendants’ profits, and Plaintiffs’ attorneys’ fees.

                                       COUNT FOURTEEN

                    CONTRIBUTORY TRADEMARK INFRINGEMENT

        173.    Plaintiffs reassert the allegations set forth in Paragraphs 1-59 as though fully set

forth herein.

        174.    By misappropriating and using at least one of the Xfinity Mobile Marks,

Defendants knowingly aided and enabled distributors and/or sellers of their products to market

them to members of the general public in a way that infringes the Xfinity Mobile Marks by

placing in the hands of distributors and/or sellers an instrument of consumer deception.

        175.    Defendants’ unlawful, unauthorized, and unlicensed sale of unlocked and

materially-different XM Phones has contributed to the creation of express and implied

misrepresentations that the XM Phones, as sold by Defendants, were created, authorized or

approved by Plaintiffs, may be activated on Xfinity Mobile service, and include warranties.

        176.    Upon information and belief, Defendants’ conduct leads to post-sale confusion by

causing consumers in the United States who purchase XM Phones from Defendants or their co-

conspirators to believe that they are purchasing legitimate XM Phones approved by Plaintiffs

that can be activated on Xfinity Mobile service and contain original warranties.




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        177.   Defendants’ conduct constitutes contributory infringement in violation of the

Trademark Act. Defendants’ conduct is intentional, malicious and willful.

        178.    Plaintiffs have been damaged and continue to suffer damages as a result of

Defendants’ actions.

        179.    There is no adequate remedy at law to fully compensate Plaintiffs for the harm

caused by Defendants’ actions.

                                      COUNT FIFTEEN

       INJURY TO BUSINESS OR REPUTATION; DILUTION OF TRADEMARKS
                      Tex. Bus. & Com. Code Ann. § 16.103

        180.   Comcast Corporation reasserts the allegations set forth in Paragraphs 1-179 as

though fully set forth herein.

        181.   Plaintiff Comcast Corporation is the lawful owner of the Xfinity Mobile Marks,

which are famous in the State of Texas.

        182.   Plaintiffs never authorized Defendants and/or their co-conspirators to use the

Xfinity Mobile Marks and Defendants’ and/or their co-conspirators’ aforementioned conduct

constitutes use of the Xfinity Mobile Marks without authorization.

        183.   The Defendants’ use the Xfinity Mobile Marks without authorization in

connection with their conspiracy to sell and offer for sale unlocked and/or materially-different

XM Phones. Customers who purchase Defendants’ stolen phones will eventually discover the

phones have been altered from their original state, that they might not operate on Xfinity Mobile

service, and do not include the warranties, accessories, manuals and related items that constitute

part of the XM Phone package.

        184.   Defendants’ and/or their co-conspirators’ use of certain Xfinity Mobile Marks in

connection with the sale of XM Phones has caused, and will further cause, a likelihood of


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confusion, mistake and deception as to the source of origin of Defendants’ infringing products,

and the relationship between Comcast Corporation and Defendants.

        185.   Defendants’ and/or their co-conspirators’ unauthorized use of certain Xfinity

Mobile Marks has caused and will continue to cause dilution of the distinctive quality of the

Xfinity Mobile Marks.

        186.   Defendants, in committing the foregoing acts in commerce, have tarnished, and

will continue to tarnish, Comcast Corporation and its reputation and goodwill, and have been

unjustly enriched and will continue to unjustly enrich themselves at the expense of Comcast

Corporation.

        187.   Comcast Corporation is without an adequate remedy at law to redress such acts

and will be irreparably damaged unless Defendants are enjoined from committing and continuing

to commit such acts.

        188.   Defendants’ acts constitute willful trading on Comcast Corporation’s Xfinity

Mobile Marks and willful dilution of the famous Xfinity Mobile Marks.

        189.   Xfinity Mobile is entitled to appropriate relief as requested hereinafter, including

injunctive relief, compensatory and punitive damages, and attorney’s fees.

                                       COUNT SIXTEEN

                            HARMFUL ACCESS BY COMPUTER
                          Tex. Civ. Prac. & Rem. Code § 143.001, et seq.

        190.   Plaintiffs reassert the allegations set forth in Paragraphs 1-59 and 118-123 as

though fully set forth herein.

        191.   Defendants unlawfully accessed at least one of Xfinity Mobile’s Protected

Computers using fraudulently obtained credentials or identities from sources other than Xfinity

Mobile to take and/or appropriate Xfinity Mobile’s property, namely, XM Phones.


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        192.    Defendants unlawfully accessed at least one of Xfinity Mobile’s Protected

Computers to obtain property by deceitful means.

        193.    Defendants unlawfully accessed at least one of Xfinity Mobile’s Protected

Computers to delete and/or remove certain computer programs and/or data from at least one of

Xfinity Mobile’s Protected Computers.

        194.    Defendants unlawfully accessed at least one of Xfinity Mobile’s Protected

Computers to obstruct, interrupt, and/or interfere with Xfinity Mobile’s use of certain computer

programs and/or data.

        195.    Defendants unlawfully accessed at least one of Xfinity Mobile’s Protected

Computers to alter, damage, and/or cause the malfunction of Xfinity Mobile’s Protected

Computers and/or computer programs.

        196.    Defendants’ conduct is intentional, malicious, fraudulent, and willful.

        197.    Defendants’ activities injured Xfinity Mobile and its property, including its

Protected Computers.

        198.    Xfinity Mobile is entitled to appropriate relief as requested hereinafter, including

compensatory damages and attorney’s fees.

                                  DEMAND FOR JURY TRIAL

        Plaintiffs demand a trial by jury on all triable issues.



        WHEREFORE, Plaintiffs respectfully request that this Court enter final judgment and

permanent injunctive relief in favor of Plaintiffs and against Defendants, as follows:

        (a)     awarding Plaintiffs their compensatory, consequential, statutory and

                special damages including, without limitation, their lost profits,


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               Defendants’ profits, cost of corrective advertising, loss of goodwill and

               damage to reputation, as well as exemplary damages, together with pre

               and post judgment interest, as provided by law;

        (b)    awarding Plaintiffs their reasonable attorneys’ fees and costs associated

               with this action;

        (c)    granting permanent injunctive relief in favor of Plaintiffs and against

               Defendants, enjoining Defendants from engaging in the unlawful practices

               described in this Complaint; and

        (d)    requiring Defendants, pursuant to the Lanham Act, to deliver to Plaintiffs

               their entire inventory of phones and products bearing or infringing the

               Xfinity Mobile Marks or a confusingly similar copy thereof; and

        (e)    granting such further relief as this Court deems just and proper.


        Respectfully submitted this 17th day of September , 2019.



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